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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA


UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )               2:16-cr-225-GMN-PAL
                                    )
            vs.                     )
                                    )
LEONARDO CHAVEZ MORALES,            )
                                    )
            Defendant.              )
____________________________________)

                                          ORDER

       On April 25, 2017, CJA Counsel Telia U. Williams, Esq., submitted an audio request for the
sealed portion (11:02:11 - 11:31:56) of the hearing held on April 25, 2017, regarding Defense
Counsel’s Motion to Withdraw #56 and Defendant’s Motion to Dismiss Counsel #59.

       IT IS THE ORDER OF THE COURT that the sealed portion of the audio shall be
unsealed by the Clerk for the limited purpose of providing a copy of the audio as requested by
Defense counsel.

       IT IS FURTHER ORDERED that the sealed portion of the audio shall thereafter be
resealed by the Clerk until further order of this Court.

       IT IS FURTHER ORDERED that Defense counsel shall not disclose the sealed contents
of the audio of the proceeding to anyone other than the representatives of the parties directly
concerned with this case.

       DATED this 28th day of April, 2017.


                                            ____________________________________
                                            UNITED STATES MAGISTRATE JUDGE
